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 UNITED STATES DISTRICT COURT                    motion, which this Court adopted over
 SOUTHERN DISTRICT OF GEORGIA                    Alvin’s objections. See Docs. 30; 33; 34.
     STATESBORO DIVISION
                                                     On February 29, 2012, Alvin filed a
MISTRELL ALVIN,                                  Federal Rule of Civil Procedure 59(e)
                                                 motion to alter the judgment. See Doc. 36.
Movant,                                          Alvin proceeded to file two additional Rule
                                                 59(e) motions. See Docs. 38; 39. On May
v.                     6:11-cv-65                3, 2012, this Court denied all three motions.
                                                 See Doc. 41.
UNITED STATES OF AMERICA,
                                                     Yet, also on May 3, 2012 and before
                                                 Alvin’s receipt of the Court’s
Respondent.
                                                 aforementioned Order, Alvin filed an
                  ORDER
                                                 “Application to Expand Certificate of
I.     INTRODUCTION                              Appealability and Enlargement of Time to
    Before the Court is Movant Mistrell          File an COA” with the Eleventh Circuit.
Alvin’s (“Alvin”) “Application to Expand         See Doc. 44. The circuit construed the
Certificate of Appealability and                 motion as a notice of appeal and sent the
Enlargement of Time to File an COA,”             motion to this Court. See id. at 14; see also
which the Court construes as a notice of         F ED. R. APP. P. 4(d).
appeal. See Doc. 44. Moreover, the Court             “Before an appeal may be entertained, a
construes Alvin’s notice of appeal as a          prisoner who was denied habeas relief in the
request for a Certificate of Appealability       district court must first seek and obtain a
(“COA”) and for in forma pauperis (“IFP”)        COA . . .” Miller-El v. Cockrell, 537 U.S.
status on appeal. See Doc. 45; Edwards v.        322, 335-36 (2003); see 28 U.S.C.
United States, 114 F.3d 1083, 1084 (11th         § 2253(c). The Court will issue a COA
Cir. 1997).                                      “where a petitioner has made a substantial
II.    ANALYSIS                                  showing of the denial of a constitutional
                                                 right.” Miller-El, 537 U.S. at 336; see also
   Alvin was convicted of conspiracy to
possess with the intent to distribute cocaine.   28 U.S.C. § 2253(c)(2). Petitioner “must
                                                 show that reasonable jurists could debate
See United States v. Alvin, 6:06-cr-26, Doc.
720 (S.D. Ga. Jan. 23, 2008). The Eleventh       whether (or, for that matter, agree that) the
                                                 petition should have been resolved in a
Circuit upheld Alvin’s sentence on appeal.
                                                 different manner or that the issues presented
See United States v. Bacon, 598 F.3d 772,
777-78 (11th Cir. 2010).                         were adequate to deserve encouragement to
                                                 proceed further.” Id. (internal quotations
   On June 6, 2011, Alvin moved for 28           omitted).
U.S.C. § 2255 relief. See Doc. 1. On
January 10, 2012, the Magistrate Judge              When the district court denies a
issued a Report and Recommendation                  habeas petition on procedural
                                                    grounds without reaching the
(“R&R”) recommending denial of Alvin’s
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   prisoner's underlying constitutional             articulated in Alvin’s notice of appeal before
   claim, a COA should issue when the               its awareness of Alvin’s appeal. See Doc.
   prisoner shows, at least, that jurists           41.
   of reason would find it debatable                    Accordingly, a review of the record
   whether the petition states a valid              demonstrates that Alvin has not made “a
   claim of the denial of a constitutional          substantial showing of the denial of a
   right and that jurists of reason would           constitutional right.” Miller-El, 537 U.S. at
   find it debatable whether the district           336. No reasonable jurist would find it
   court was correct in its procedural              debatable whether Alvin states a valid claim
   ruling.
                                                    of the denial of a constitutional right. His
Slack v. McDaniel, 529 U.S. 473, 484                motion for a COA is DENIED.
(2000) (emphasis added).                                 “An appeal may not be taken [IFP] if the
    Because Alvin appealed before receipt           trial court certifies in writing that it is not
of the Court’s May 3, 2012 Order disposing          taken in good faith.”             28 U.S.C.
of his three Rule 59(e) motions, Alvin’s            § 1915(a)(3). Good faith means that an issue
appeal only covers the Court’s adoption             exists on appeal that is not frivolous when
Order and the Magistrate Judge’s                    judged under an objective standard. See
subsequent order denying Alvin’s first Rule         Coppedge v. United States, 369 U.S. 438,
59(e) motion.                                       445 (1962); Busch v. Cnty. of Volusia, 189
                                                    F.R.D. 687, 691 (M.D. Fla. 1999). A claim
    In the R&R, the Magistrate Judge
                                                    is frivolous if it is “without arguable merit
discerned “no COA-worthy issues” and
                                                    either in law or fact.” Bilal v. Driver, 251
concluded that “no COA should issue.” See
                                                    F.3d 1346, 1349 (11th Cir. 2001).
Doc. 30 at 33. This Court adopted the R&R.
See Doc. 34. For the reasons expressed in               In the R&R adopted by this Court, the
the R&R, the Court DENIES Alvin’s                   Magistrate Judge recommended the denial
request for a COA related to all of the             of IFP status on appeal. See Doc. 30 at 33.
claims raised in his § 2255 motion.                 For the reasons expressed by the R&R and
                                                    after a review of the issues raised by Alvin,
    Although the Magistrate Judge did not
                                                    the Court concludes that Alvin’s claims are
have authority to deny Alvin’s first Rule
                                                    frivolous and his appeal is not taken in good
59(e) motion, Alvin presents no COA-
                                                    faith. His implied motion for IFP status on
worthy issues in his first Rule 59(e) motion.
                                                    appeal is DENIED.
See Doc. 41 at 1-2 (denying Alvin’s motion
as an attempt to re-litigate his previously         III. CONCLUSION
rejected claims). Considering the timing of             Alvin’s request for a COA, see Doc. 45,
his notice of appeal, Alvin presumably              is DENIED.
sought to raise with the Eleventh Circuit the
                                                        Alvin’s implied motion for IFP status on
same issues addressed in his three motions
                                                    appeal, see Doc. 45, is DENIED. The Court
for reconsideration. The Court subsequently
considered and disposed of the issues               assesses the full filing fee of $455.

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This 18th day of June 2012.



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 B. AVANT EDENFEELO, iura
 UNiTED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF GEORGIA
